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                                                                                1
                    UNITED STATES DISTRICT COURT FOR THE

                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 23-CV-60345-RAR



       HEAD KANDY, LLC,

              Plaintiff,

       vs.

       KAYLA MARIE MCNEILL, et. al

              Defendants.

       ____________________________/




                                 August 15th, 2024

                              10:03 a.m. - 5:54 p.m.

                                   Buro Central

                         101 N.W. 8th Street, Suite 200

                               Miami, Florida 33136



                   VIDEOTAPED DEPOSITION OF JEROME FALIC



                 Taken before Julio A. Mocega, Shorthand

         Reporter, Notary Public in and for the State of

         Florida at Large, pursuant to Notice of Taking

         Deposition filed in the above case.




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                                   EXHIBIT 2
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                                                                                2
  1                                APPEARANCES:

  2    ON BEHALF OF THE DEFENDANT:

  3    CONVERSE LAW GROUP, P.C.

  4    600 17th Street

  5    Suite 2800 South

  6    Denver, Co 80202

  7    BY:   Antonio L. Converse, Esq.

  8    ALSO ON BEHALF OF DEFENDANT:

  9    L.E. BURGESS, P.A.

 10    5966 S. Dixie Highway

 11    Suite 300

 12    Miami, Florida 33143

 13    BY:   Laura E. Burgess, Esq.

 14    ON BEHALF OF THE PLAINTIFF:

 15    BARTLETT, LOEB, HINDS, THOMPSON & ANGELOS

 16    100 N. Tampa Street

 17    Suite 2050

 18    Tampa, Florida 33602

 19    BY:   Ethan Loeb, Esq.

 20    ALSO PRESENT: Edwin Arango, Videographer

 21    PRESENT ON ZOOM: Colin Thompson
                        Gina Gazzaniga
 22                     Kayla McNeill

 23

 24

 25


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                                                                                3
  1                               I N D E X

  2

  3    JEROME FALIC                                         PAGE

  4    By Mr. Converse                                    5, 236

  5    By Mr. Loeb                                              230

  6

  7                              E X H I B I T S

  8

  9    Defendant's Exhibit No. 1                           76

 10    Defendant's Exhibit No. 2                           82

 11    Defendant's Exhibit No. 3                           106

 12    Defendant's Exhibit No. 4                           125

 13    Defendant's Exhibit No. 5                           136

 14    Defendant's Exhibit No. 6                           146

 15    Defendant's Exhibit No. 7                           198

 16    Defendant's Exhibit No. 8                           199

 17    Defendant's Exhibit No. 9                           203

 18

 19               (Defendant's Exhibits Retained by Counsel)

 20

 21

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                                                                                5
  1    duly sworn, was examined and testified as

  2    follows:

  3                      DIRECT EXAMINATION

  4    BY MR. CONVERSE:

  5               Q.   Good morning, again, Mr. Falic.

  6    Thank you for being here today.

  7                    Are you currently the managing

  8    member of Head Kandy, LLC?

  9               A.   Yes.

 10               Q.   Did you form that entity?

 11               A.   Yes.

 12               Q.   When did you form it?

 13               A.   It was back in -- I believe it was

 14    2018.

 15               Q.   And why did you form the entity?

 16               A.   We had purchased the -- we took, I

 17    guess, the majority of the company in

 18    partnership, five partners in total, and we

 19    formed an entity.

 20               Q.   Could you give me the names of

 21    those five partners, please?

 22               A.   Yes.   It was Kayla McNeill, one;

 23    myself, Jerome Falic; Bryan Feldman, Simon

 24    Falic and Leon Falic.

 25               Q.   Are Simon and Leon your brothers?


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                                                                                8
  1    as they may have changed.

  2               A.      So when we first -- when we first

  3    bought into the company, we -- we would sit

  4    down and come up with different ideas.         We

  5    listened to all of Kayla's idea.        She ran the

  6    day-to-day of the business, but I would -- I

  7    was overseeing.

  8                       I would look at the numbers.     I

  9    would look at the sales.        I would try to bring

 10    in and increase the business by looking for new

 11    avenues of distribution, or possibly bringing

 12    in more marketing ideas to the business.

 13                       And it changed about July of --

 14    June or July of '22, when I brought in a --

 15    someone to oversee the operation, the

 16    day-to-day operation, take a look at the

 17    business, really, and to see what -- what is

 18    going on and how do I make it better.

 19               Q.      What is the name of that

 20    consultant that you brought on?

 21               A.      John Rosenbaum.

 22               Q.      Why did you decide to bring on

 23    Mr. Rosenbaum?

 24               A.      Because I saw the company wasn't

 25    growing.        It wasn't -- I felt it wasn't being


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                                                                                9
  1    operated properly.        We needed to grow the

  2    business.        We needed to lower inventories.     We

  3    needed to scale down on the SKUs that we

  4    carried.        We needed to increase customers.     We

  5    weren't acquiring new customers.        And that was

  6    why.

  7               Q.      When did you become aware that the

  8    company wasn't being -- it was not operating

  9    properly, I believe, as you put it?

 10               A.      Well, there was -- I was always

 11    trying to -- I was always dealing with the

 12    numbers, and I kept on questioning and saying

 13    we need to grow the company, we need to grow

 14    customer clientele, we have to grow sales, we

 15    have to find better ways and more ways of doing

 16    that.   So it was a -- it's not like I

 17    discovered it overnight.

 18                       I was speaking about it for quite

 19    a while.        Took a few, you know, over a period

 20    of time.        And I decided we need to make -- we

 21    need to find a way of what is going on that is

 22    not increasing the way it should.

 23               Q.      How do you determine growth?    When

 24    you say the company isn't growing, how do you

 25    determine growth?


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                                                                              19
  1    when you started looking into the inventory?

  2               A.   I -- I -- no.

  3               Q.   Did you receive reports at regular

  4    intervals concerning the inventory as well?

  5               A.   I did.   I don't remember from what

  6    date, but yes, I started to receive them.          I

  7    started asking -- requesting them more and

  8    more.

  9               Q.   Was that before or after you

 10    retained Mr. Rosenbaum?

 11               A.   It was before.

 12               Q.   How did you select Mr. Rosenbaum

 13    for -- to fulfill the consultant position that

 14    you hired him for?

 15               A.   I knew him from past businesses.

 16    I knew that he knew how to run an operation.

 17    And I -- I felt I needed someone to come in and

 18    take a look at the business overall, look into

 19    the details and figure out the best path

 20    forward.

 21               Q.   How long had you known

 22    Mr. Rosenbaum at that time?

 23               A.   I knew him -- I met Rosenbaum in

 24    2007 or '8.     I believe it was 2008.

 25               Q.   And I believe you said it was due


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  1              A.   There was a report -- a generated

  2    report.

  3              Q.   Would you receive that report at

  4    the same time you received the sales report?

  5              A.   No.

  6              Q.   How frequently would you receive

  7    the inventory report?

  8              A.   I -- I don't know if it was

  9    maybe -- possibly monthly.

 10              Q.   Do you know --

 11              A.   Or upon request.

 12              Q.   Do you know who provided you the

 13    report?

 14              A.   Yes.

 15              Q.   Who?

 16              A.   Hernan Heiber.

 17                   THE COURT REPORTER:      Hernan

 18              Heiber?

 19                   THE WITNESS:     H-E-I-B-E-R.

 20    BY MR. CONVERSE:

 21              Q.   When did you first start receiving

 22    inventory reports?

 23              A.   I -- I don't remember.

 24              Q.   When you first mentioned Kayla, I

 25    believe you said she ran the day-to-day; is


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                                                                              27
  1    that correct?

  2               A.     Yes.

  3               Q.     What was her position with the

  4    company?

  5               A.     Her position was in charge of

  6    running the day-to-day business and all of the

  7    creative.       The business -- and she also -- as

  8    well as the face of the company.        She was the

  9    founder of the company.

 10               Q.     Who tasked Kayla with managing the

 11    day-to-day operations of the business?

 12               A.     From the day we -- from the day we

 13    created the partnership it was -- it was

 14    written that she would be running the

 15    day-to-day of the business.

 16               Q.     So was it pursuant to a written

 17    agreement?

 18               A.     It was part of the employment

 19    contract, yes.

 20               Q.     The employment agreement between

 21    Miss McNeill and Head Kandy?

 22               A.     Yes.

 23               Q.     Was that employment -- was that

 24    employment agreement ever revised?

 25               A.     It -- the only time the position


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                                                                               30
   1               Q.   So throughout the existence of the

   2    company, has anyone, other than you, had the

   3    authority to direct Head Kandy's counsel to

   4    take action on its behalf concerning employment

   5    matters?

   6               A.   No.

   7               Q.   What was the reason for the change

   8    in Miss McNeill's role in 2022 that you just

   9    mentioned?

  10               A.   It was basically what I mentioned

  11    before, that once I brought in Mr. Rosenbaum to

  12    oversee and how do I fix the business.         I felt

  13    that it needed a fixing.      And again, trying to

  14    grow customer base, trying to grow sales, lower

  15    inventory, lower the amount of SKUs we carry.

  16                    With all of the above, I -- and as

  17    John -- as Mr. Rosenbaum went through, he would

  18    visit the offices and warehouse quite

  19    frequently.     He would report back to me, as

  20    well as to Bryan, and tell us what is -- what

  21    is -- what he sees.     And as we continued to

  22    move forward and go through a few months of him

  23    reviewing everything, we made the decision.

  24               Q.   Did Mr. Rosenbaum produce a

  25    reports concerning his review?


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   1               A.   He would -- he would discuss all

   2    the details with me.

   3               Q.   Did he provide you any written

   4    information concerning his findings during his

   5    review?

   6               A.   I don't know if he might have sent

   7    them to me, you know, on text or what have you.

   8    I'm not sure.     But we would speak quite often.

   9               Q.   Were there any other issues that

  10    Mr. Rosenbaum identified during his review of

  11    the company's operations?

  12               A.   So he started seeing -- you know,

  13    he was looking into all aspects.        So part of it

  14    was how we were spending on marketing -- how we

  15    were -- how we were deciding on where to spend

  16    on the marketing and social media end of it.

  17                    And then as he went forward, he

  18    started looking into the expense of the

  19    company.

  20               Q.   Did Mr. Rosenbaum propose any

  21    changes to you to address concerns he

  22    identified?

  23               A.   Yes.

  24               Q.   With regard to inventory, what

  25    proposals did Mr. Rosenbaum make?


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                                                                               32
   1              A.    We -- we -- he was suggesting,

   2    first of all, we need to run some drastic sales

   3    to lower -- to reduce the inventory.        That was

   4    one.   And -- and watch very carefully how we

   5    move forward ordering product.

   6              Q.    Who was in charge of ordering

   7    products when Mr. Rosenbaum was retained?

   8              A.    Kayla McNeill.

   9              Q.    I'm sorry?

  10              A.    Kayla.

  11              Q.    Oh, Kayla.

  12                    You mentioned Hernan Heiber with

  13    regard to the inventory reports.        What was his

  14    role concerning inventory?

  15              A.    He would create inventory reports,

  16    and he would send the actual purchase orders

  17    and what -- you know, on what I was needed.

  18              Q.    How would he determine what was

  19    needed?

  20              A.    Well, he would -- he would create

  21    the purchase orders.     Kayla would decide which

  22    products we're going to -- we're going to

  23    order, and then he would -- and most of the

  24    direction, from my understanding, came from

  25    Kayla to him.


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   1    adopt Mr. Rosenbaum's recommendations?

   2                   THE COURT REPORTER:      Whether or

   3             not to?

   4                   MR. CONVERSE:    Adopt

   5             Mr. Rosenbaum's recommendations.

   6                   THE WITNESS:    He spoke to me about

   7             it.

   8    BY MR. CONVERSE:

   9             Q.    And who would ultimately decide

  10    whether or not the company would actually

  11    undertake his recommendations?

  12             A.    I needed -- I needed whatever --

  13    whatever -- I needed whatever could be done to

  14    save the company, and that's what we were

  15    looking at, to save the company.

  16             Q.    Could he unilaterally implement

  17    his recommendations?

  18             A.    He would -- he would run it by me.

  19             Q.    And then you would approve it?

  20             A.    Yes.

  21             Q.    With regard to determining orders,

  22    you had said that Miss McNeill would do that.

  23                   Was that part of her role in the

  24    day-to-day management of the company that you

  25    had delegated her?


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                                                                               39
   1              A.   She was running -- she was --

   2    under the agreement, she was running the -- the

   3    day-to-day operation of the company.

   4              Q.   Did you ever tell her that she was

   5    responsible for determining inventory purchases

   6    that Head Kandy made?

   7              A.   That was her responsibility from

   8    the time we -- we had acquired and were in

   9    partnership with it.

  10              Q.   Is that because you delegated it

  11    to her?

  12              A.   It's because she was -- what she

  13    was doing when we -- when we first started, she

  14    was doing it all along, and that's -- it was --

  15    it was -- it was an automatic.        I never took

  16    the responsibility away from her.

  17              Q.   Were there any other

  18    responsibilities that were a bit in automatic

  19    concerning Miss McNeill's obligations to Head

  20    Kandy?

  21              A.   As I said, she was running the

  22    day-to-day operation of the company, so all

  23    aspects of the company.

  24              Q.   We discussed the sales that

  25    Mr. Rosenbaum recommended.


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   1                   What does Miss McDermott do

   2    concerning product development?

   3             A.    So I am not in touch with Mindy on

   4    a daily basis.       And John really speaks to her,

   5    as well as the people from Alphagility speak to

   6    her.

   7             Q.    Who is her current supervisor?

   8             A.    I would -- well, John.

   9             Q.    I believe you also said that she

  10    helps with the suppliers.

  11                   What does she do concerning

  12    suppliers?

  13             A.    I know she talks to suppliers

  14    about various shipments.       You know, again, I'm

  15    not in touch with her on a daily basis.

  16             Q.    So you don't have any personal

  17    knowledge concerning what she does day-to-day?

  18             A.    No.

  19             Q.    And the person who does would be

  20    Mr. Rosenbaum?

  21             A.    Correct.

  22             Q.    Does Head Kandy -- excuse me.

  23                   Does Head Kandy currently have any

  24    other employees?

  25             A.    Yes.     Ryan Thompson is employed


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   1    with Head Kandy.

   2                   THE COURT REPORTER:      Ryan?

   3                   THE WITNESS:    Ryan Thompson.

   4                   And I believe that is the -- that

   5             is the only two people on the payroll

   6             today.

   7    BY MR. CONVERSE:

   8             Q.    Is Mr. Rosenbaum an independent

   9    contractor?

  10             A.    He's not -- he's really consulting

  11    for me, but he is not on the payroll of Head

  12    Kandy.

  13             Q.    When did you first speak to

  14    Mr. Rosenbaum about potentially assisting with

  15    Head Kandy?

  16             A.    Potentially?

  17             Q.    Assisting with Head Kandy?

  18             A.    It was sometime around -- I know

  19    he came on board June or July of 2022.          So it

  20    had to be a few months of -- a couple months

  21    before that I started talking about -- about

  22    it.

  23             Q.    What were your initial discussions

  24    with Mr. Rosenbaum?

  25                   MR. LOEB:    Object to the form.


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   1    BY MR. CONVERSE:

   2              Q.   Go ahead.    Go ahead.    You can

   3    answer.

   4                   What did you initially discuss

   5    with Mr. Rosenbaum?

   6              A.   Just in general, I told him about

   7    the -- about the company, and I -- I mentioned

   8    the sales that we had.      I mentioned how we --

   9    how -- you know, details about the company.

  10    And I -- I told him I felt that we needed some

  11    help.

  12              Q.   Were you initially thinking that

  13    he could potentially be the individual to help?

  14              A.   Would he be?

  15              Q.   He would potentially be the

  16    individual to help?

  17              A.   I felt he could be, yes.

  18              Q.   Did Head Kandy ever have an

  19    agreement with Mr. Rosenbaum concerning the

  20    scope of his services and compensation for his

  21    services?

  22              A.   There was nothing ever written.

  23              Q.   Was there anything discussed?

  24              A.   The only thing that was discussed

  25    was for him to come in and like I mentioned


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   1    acquiring enough customers.

   2             Q.    Okay.    So when you say the company

   3    wasn't growing in 2022, you're just referring

   4    to customer acquisition?

   5                   MR. LOEB:    Form.

   6                   THE WITNESS:     Customer acquisition

   7             and sales.

   8    BY MR. CONVERSE:

   9             Q.    Oh, and sales.       Okay.

  10                   So did the sales remain stagnant

  11    from 2021 to 2022?

  12             A.    I don't remember the exact sales

  13    from each year --

  14             Q.    Right.

  15             A.    -- at this point.       I don't

  16    remember.

  17             Q.    Okay.    What about the income, did

  18    it -- was it -- was the company still not

  19    making any money at that point in time?

  20             A.    Just in 2022, not making any

  21    money.

  22             Q.    Okay.    You also mentioned overall

  23    expenses at the end is an area that

  24    Mr. Rosenbaum looked into for Head Kandy.

  25                   Did he make any recommendations


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   1    that we haven't already discussed concerning

   2    overall expenses?

   3             A.    He -- later in the year, he --

   4    he -- he went and asked me again if he could

   5    hire an outside audit to be done.        And by a

   6    company to do an audit on all of the

   7    expenses -- on various expenses that the

   8    company was paying out at -- paying out.

   9             Q.    Did he tell you why he wanted to

  10    have that audit performed?

  11             A.    He felt the company expenses were

  12    out of control.

  13             Q.    And did you approve the audit?

  14             A.    Yes.

  15             Q.    What company performed that audit?

  16             A.    K2.

  17             Q.    I think it's going to be a large

  18    topic, so I'm just going to ask you a couple of

  19    follow-up questions and then we can take a

  20    break, because we've been going for a little

  21    bit.   Okay?

  22             A.    Sure.

  23             Q.    You had mentioned that John is

  24    Miss McDermott's supervisor.

  25                   When did he become her supervisor?


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   1             break then.    Maybe ten minutes.

   2                    THE WITNESS:     Sure.

   3                    MR. CONVERSE:     Is that good for

   4             you?

   5                    MR. LOEB:     Sure.

   6                    THE VIDEOGRAPHER:        Going off the

   7             record at 11:28.

   8                    (Thereupon, a short recess was

   9             taken.)

  10                    THE VIDEOGRAPHER:        Back on the

  11             record at 11:45.

  12    BY MR. CONVERSE:

  13             Q.     Before we -- well, a little before

  14    we went off, you had mentioned K2 Integrity,

  15    and I would like to ask you about their work

  16    with Head Kandy.

  17                    (Thereupon, an off-the-record

  18             discussion was had.)

  19    BY MR. CONVERSE:

  20             Q.     Did Mr. Rosenbaum contact --

  21                    Who contacted K2 to retain them?

  22             A.     John Rosenbaum.

  23             Q.     Do you know when?

  24             A.     It was sometime towards the last

  25    quarter of the year.        Sometime towards the end


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   1    of the year of 2022.

   2             Q.    Okay.   Thank you.

   3                   Do you know when K2 finished its

   4    audit?

   5             A.    About a month after they started.

   6             Q.    What was the scope of their audit?

   7             A.    They were looking into all of

   8    the -- mostly the credit card expenses that the

   9    company was paying -- paying for.

  10             Q.    Let me go back, since you

  11    mentioned credit card, and ask you about Head

  12    Kandy's operations at the beginning.

  13                   After you formed Head Kandy, did

  14    you secure any credit for the company?

  15             A.    No.

  16             Q.    Did Head Kandy ever obtain any

  17    credit that it could use for its operations?

  18             A.    It obtained loans from each of the

  19    partners.

  20             Q.    We did it obtain those loans?

  21             A.    I don't have the exact dates.

  22             Q.    Do you know the year?

  23             A.    I -- I don't.

  24             Q.    What was the amount of the loans?

  25             A.    I don't remember the amount.       I


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   1    don't remember if it was -- one of the amounts,

   2    I believe, was about 145,000 per -- per

   3    partner, I believe.        And then the other ones I

   4    am not sure.

   5                       We did get from -- we got the

   6    government help during COVID.          We got a

   7    $500,000 loan that we all are guaranteed on.

   8               Q.      Did that loan have to be paid back

   9    in full?

  10               A.      Yes.

  11               Q.      Is there outstanding principal on

  12    that?

  13               A.      I believe very low.    It's

  14    guaranteed by each of the partners.

  15               Q.      You mentioned a $145,000 loan that

  16    each of the partners gave.        And then I believe

  17    you said that there were other loans.

  18               A.      I don't remember exactly.      And I

  19    don't remember exactly what the other loans

  20    were.

  21               Q.      Okay.

  22               A.      Bryan would say we need to put

  23    money into the company.        We either wrote

  24    checks, which we did a couple of times, I

  25    believe.        It might have been once, it might


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   1    have been twice, I don't remember.

   2                       And then there were other times

   3    where we were able to obtain money through

   4    Shopify and give a discount on -- you know,

   5    they would take off a percentage of the sales

   6    and pay themselves back, you know, in a certain

   7    way.

   8                       Bryan would call me up and say we

   9    really need some cash.         I can do this.    It's

  10    very expensive money, but we needed to do it.

  11               Q.      And then in that, the Shopify

  12    money that you said was expensive?

  13               A.      Yes.

  14               Q.      Okay.   Were there any other loans

  15    from all of the partners to Head Kandy?

  16               A.      I don't remember.    I remember one

  17    of them.        I remember reading one of them was --

  18    I believe it was 145,000.         I don't remember the

  19    other ones.

  20               Q.      Was the $145,000 loan

  21    memorialized?

  22               A.      Again, I don't remember the

  23    details of it.        I -- Bryan requested it, and

  24    I -- you know, we just all put it in.

  25               Q.      Do you know what the interest rate


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   1             they would -- I believe they would have

   2             asked for it.     They're professional.

   3    BY MR. CONVERSE:

   4             Q.     Did K2 request additional

   5    information?

   6             A.     I -- I don't know.

   7             Q.     So all of the reports that we've

   8    looked at in Deposition Exhibits 1 and 2 all

   9    have "Draft" written across it, watermarked

  10    stating "Draft."

  11                    Do you know why these are all

  12    draft reports?

  13             A.     Yes.

  14             Q.     Why?

  15             A.     We wanted to give Kayla an

  16    opportunity to review it and come back to us

  17    with the details of what she saw.

  18             Q.     Do you know if K2 ever provided a

  19    final report?

  20             A.     We were waiting for Kayla to come

  21    back with all of the details.         And she did some

  22    of the details, and she said it was too much

  23    work.   And we gave her help -- we even offered

  24    her help to try to put all of the work together

  25    from our side.


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   1              Q.   Okay.    Did you authorize

   2    Mr. Ferdinand to send this letter to

   3    Miss McNeill on behalf of Head Kandy?

   4              A.   Yes.    Yes, I did.

   5              Q.   Why did Head Kandy send this

   6    letter?

   7              A.   As it is stated in the letter, all

   8    of the things that -- that were being done,

   9    that Kayla was doing, you know, creating

  10    another website, selling on -- offering

  11    merchandise from our warehouse, approaching

  12    Head Kandy customers, really starting a whole

  13    other business on the platform of -- and under

  14    all the owned cites and Facebook pages and --

  15    of such that were owned by Head Kandy.

  16              Q.   I'd like to go through each one of

  17    those and ask you a few questions, so -- you

  18    first mentioned that she was starting another

  19    business, I believe.

  20                   When did you become aware of that?

  21              A.   It is stated here.      It's stated

  22    here actually.    At least as early -- which

  23    right there as of November 18.        I wouldn't

  24    remember the dates otherwise.

  25              Q.   Okay.    How did you become aware of


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   1    that?

   2              A.   I don't remember who sent me a

   3    copy of the post or TikTok or one of the videos

   4    that she made regarding some leggings which

   5    was -- and the video was taken in the warehouse

   6    of Head Kandy.

   7              Q.   Do you know how it was sent to

   8    you?

   9              A.   I don't recall.

  10              Q.   What concerned you about that

  11    video?

  12              A.   What concerns me is, she's a

  13    partner in the business, she should be

  14    dedicating her time, her full time to the

  15    company and not using -- and, of course, not

  16    using our company resources and sources and

  17    employees and everything that's being done

  18    here.    I mean, it's obviously -- it's not --

  19    really unethical.

  20              Q.   Just with regard to that video

  21    particularly, what -- was she doing all of

  22    those things in the video?

  23              A.   She was promoting leggings.       She

  24    was in the warehouse of Head Kandy, which she

  25    is a partner and -- she was a partner in Head


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   1    Kandy.    Using, you know, with the video,

   2    approaching all of the Head Kandy customers.

   3    Using the -- whichever one it was -- one of

   4    the -- one of the handles of the company, it

   5    belongs to the company of Head Kandy.

   6              Q.    Were you able to confirm that that

   7    account was owned by the company when you

   8    obtained the video?

   9              A.    Jed had confirmed it to us.

  10              Q.    You had mentioned a couple of

  11    times that --

  12              A.    And -- and at the same time --

  13    this is one of the -- one of the -- one of

  14    the -- we paid for all of the expenses and all

  15    of the boosts and all of lines of that particle

  16    -- we call it "handle" -- the company pays for

  17    all of it.

  18              Q.    So I thought you said that you

  19    weren't familiar with boosts and what that

  20    meant.

  21                    So what's your understand- -- when

  22    did you become aware of Head Kandy paying for

  23    boosts?

  24              A.    Well, I --

  25                    MR. LOEB:    Hold on.


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   1                   Object to form of the colloquy.

   2                   Go ahead.

   3                   THE WITNESS:    I learned as we went

   4             along.    As I told you, I wasn't -- I

   5             wasn't fully aware of how it went

   6             before, and as the months went through

   7             and John was explaining to me the

   8             different things and explaining to me

   9             how we're paying for all of the boosts,

  10             we're paying for all of these lives,

  11             and, you know, I learned my way.

  12                   I mean, I've learned a lot of

  13             these along -- after all of these years

  14             in business.

  15    BY MR. CONVERSE:

  16             Q.    So at the time this letter was

  17    sent, you were aware of Head Kandy's use of

  18    boosting and how it was promoting accounts and

  19    video using boosting?

  20                   MR. LOEB:    Form.

  21                   THE WITNESS:    I am not sure.

  22    BY MR. CONVERSE:

  23             Q.    So at the time this letter was

  24    sent, were you aware of how Head Kandy was

  25    utilizing boosting?


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   1             A.    I was starting to understand it

   2    very well.    I will say I'm not an expert.

   3             Q.    You mentioned a couple of times

   4    that Kayla was a partner in the company as a

   5    basis for concern.

   6                   Were the partners in Head Kandy

   7    precluded from being involved in any other

   8    businesses?

   9             A.    Her employment agreement was

  10    clearly stated for Head Kandy.        We didn't

  11    have -- none of the other partners had an

  12    employment agreement with the company.

  13             Q.    So it was more the employment

  14    arrangement that concerned you versus her state

  15    as a partner in Head Kandy?

  16                   MR. LOEB:    Object to form.

  17                   THE WITNESS:    She had an

  18             employment agreement with the company.

  19             She's the only one that had a salary

  20             with the company.

  21                   So -- and she had -- she was, at

  22             one point, running the company for many

  23             years.   She was the founder.      She was

  24             the face of the company.       And she

  25             should have done everything possible to


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   1               concentrate on Head Kandy and not start

   2               or try to start another business under

   3               the wings of Head Kandy.

   4    BY MR. CONVERSE:

   5               Q.      You said she was promoting

   6    leggings.

   7                       Has Head Kandy ever sold leggings?

   8               A.      Head Kandy sold other apparel that

   9    Kayla brought for us to sell, for the website

  10    to sell.        At that point they did not sell

  11    leggings.

  12               Q.      Has Head Kandy ever sold leggings?

  13               A.      No.   But also she was offering the

  14    leggings to all of the customers of Head Kandy

  15    in the Head Kandy warehouse.           I mean, it was

  16    really clearly there.

  17               Q.      Do you know if the video was being

  18    uploaded live to the account?

  19                       MR. LOEB:   Form.

  20                       THE WITNESS:    I -- I don't know.

  21    BY MR. CONVERSE:

  22               Q.      Do you know when -- what time of

  23    day the video was posted?

  24               A.      I don't know.    I know it was in

  25    the warehouse, and I know that her, you know --


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   1    the only way she can -- if she was going to

   2    start something else, or start another

   3    business, she had to get something in writing

   4    and approved by me to be able to do so.         That

   5    never -- it never came up.

   6             Q.    Is that requirement in her

   7    employment agreement?

   8             A.    Yes.

   9             Q.    Did you observe her using Head

  10    Kandy employees in the video to assist in any

  11    way with her leggings business?

  12                   MR. LOEB:    Form.

  13                   THE WITNESS:    The video was just

  14             of her in our warehouse.       I was told

  15             that she was using other employees for

  16             that business.

  17    BY MR. CONVERSE:

  18             Q.    Were you told that before this

  19    letter was sent?

  20             A.    This was the information that

  21    was -- it's on the letter.      So we knew ahead of

  22    time.

  23             Q.    Who told you that she was using

  24    other employees?

  25             A.    I -- I don't recall.


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   1              Q.   Do you know to what extent she was

   2    using Head Kandy employees?

   3              A.   At the time I didn't know to what

   4    extent.    I do know that she used -- afterwards

   5    I did find out some people ordered the products

   6    for her, and, you know, I think -- I believe

   7    some customer service people were working with

   8    her as well in helping her out.

   9              Q.   Do you know to what extent those

  10    customer service people were helping her?

  11              A.   I don't remember the details.

  12              Q.   Did you learn about the assistance

  13    from the customer service people prior to the

  14    filing of this lawsuit?

  15              A.   I don't remember.

  16              Q.   Do you know if you've learned

  17    about it prior to her termination by Head

  18    Kandy?

  19              A.   I don't remember the timing of

  20    each event.

  21              Q.   Did you -- it said that she was

  22    also using employees for purchasing.

  23              A.   From what I've heard, yes.

  24              Q.   Okay.   Do you know who told you

  25    that?


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                                                                              115
   1             A.     I don't remember.

   2             Q.     Do you know if you learned of that

   3    before her termination?

   4             A.     I don't remember.     And I don't

   5    believe so.

   6             Q.     Okay.   Do you know if you've

   7    learned of Head Kandy employees helping her

   8    with purchasing before the lawsuit was filed?

   9             A.     Again, I don't remember the timing

  10    of each event.

  11             Q.     You also stated that Head Kandy

  12    owned the account that she was posting on; is

  13    that correct?

  14             A.     Yes.

  15             Q.     Do you know how Head Kandy

  16    acquired that account?

  17             A.     I --

  18                    MR. LOEB:   Form.

  19                    Go ahead.

  20                    THE WITNESS:   I -- I don't know.

  21             I don't know.

  22    BY MR. CONVERSE:

  23             Q.     Did anyone ever tell you that Head

  24    Kandy did not own that account?

  25             A.     Kayla argued the point.     Jed


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   1    confirmed otherwise.

   2               Q.      Did anyone else tell you that Head

   3    Kandy did not own the account, other than

   4    Kayla?

   5               A.      No.   And I was told also -- we

   6    also -- that Head Kandy paid for all of the

   7    expenses of that account, all of the lives, all

   8    of the things that go with it.

   9               Q.      Do you know what expenses are

  10    involved in those type of accounts?

  11               A.      What I was told, again, was

  12    boosting -- boosting the lives -- boosting all

  13    of the lives.

  14               Q.      This might be a way that you can

  15    help inform me.

  16                       What does boosting do?

  17               A.      It's -- again, I don't know.      I'm

  18    good but I'm not that good.         Let me just say

  19    that we boost them -- they just push it

  20    through.        They go out and, you know, as many

  21    viewers as possible.

  22                       Again, I just know we paid the

  23    expenses.        When I see these, you know, I am

  24    told that we're paying for all of these live

  25    videos to go and get boosted.           It's an expense.


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   1                   So again, if the company is paying

   2    for it and the site belongs to the company,

   3    then it's on company time; it's on company

   4    resources.

   5             Q.    So it sounds like boosting

   6    concerns exposure.

   7                   Is it tied to running ads in any

   8    way?

   9             A.    Again, I'm not -- I'm not an

  10    expert, like I said before.

  11             Q.    Okay.     You also stated that you

  12    were concerned because Kayla was approaching

  13    Head Kandy customers concerning the leggings.

  14                   How did you determine that she was

  15    approaching Head Kandy customers?

  16             A.    It was on one of the Head Kandy

  17    handles, which is what -- what -- what the Head

  18    Kandy customers -- you're talking to the Head

  19    Kandy customers.       That's how -- it's -- it's

  20    one and the same.

  21             Q.    Do you know if there are any

  22    individuals who view those posts who are not

  23    Head Kandy customers?

  24             A.    I assume there are.

  25             Q.    Do you know if there's a


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   1    difference between viewers and followers on

   2    those pages?

   3               A.   Yeah.   Some people just view an

   4    Instagram post, and some people follow the

   5    Instagram post.

   6               Q.   Okay.   And are all of the --

   7    strike that.

   8                    Do you also assume that all of the

   9    followers on the page are Head Kandy customers?

  10               A.   No.

  11               Q.   How do you determine who is a Head

  12    Kandy customer?

  13               A.   Someone that has purchased Head

  14    Kandy product.

  15               Q.   During any particular time period?

  16               A.   Anyone that purchased anything

  17    from Head Kandy is a customer.

  18               Q.   At any time?

  19               A.   Yes.

  20               Q.   You had said that Kayla would need

  21    approval to start another business; is that

  22    correct?

  23               A.   Yes.

  24               Q.   Did she ever receive approval to

  25    be involved with another business?


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   1             A.    She never asked to be involved in

   2    another business.

   3             Q.    So she was never provided

   4    authority?

   5             A.    And I obviously didn't expect it

   6    either, because this was -- you know -- Head

   7    Kandy was -- she was the founder.        She, you

   8    know, she was the -- she ran the company for

   9    many years.    She was the face of the brand.

  10                   I didn't expect her to spend time

  11    and build up another company, but she never

  12    even -- she never asked either.

  13             Q.    Do you know the names of any of

  14    the Head Kandy employees that were assisting

  15    Miss McNeill in any manner concerning the new

  16    venture that is referenced in this Exhibit 3?

  17             A.    From what I heard afterwards?

  18             Q.    At any time.

  19             A.    At any time?

  20             Q.    Yes.

  21             A.    I know that Ryan was working very

  22    close to Kayla, and was -- and assisted her.

  23    And I know that Kaylin was very close to her.

  24                   I don't know most of the other

  25    people that were working in the company, so I


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   1    don't -- I don't know them by name, and so I

   2    don't know which other ones were assisting her

   3    as well.

   4               Q.   Just to clarify, is that Ryan

   5    Thompson?

   6               A.   Ryan, Thompson, yes.

   7               Q.   And then did you say Kaylin?

   8               A.   Kaylin, yes.

   9               Q.   Is that Culp?

  10               A.   Yes.

  11               Q.   Did you learn what Ryan was doing

  12    for Miss McNeill concerning another business?

  13               A.   I heard at one point he was

  14    ordering some of the product for her, helping

  15    order product.

  16               Q.   Do you know who told you?

  17               A.   I don't remember.

  18               Q.   And then with regard to Miss Culp,

  19    did you learn what she was doing for Kayla?

  20               A.   I'm not -- I just know that she

  21    helped.     I don't know exactly what she was

  22    doing.

  23               Q.   So at the bottom of page 3 of this

  24    Exhibit 3, the final paragraph says that -- I'm

  25    summarizing, that her actions constitute


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   1    material breaches of the employment agreement.

   2                   Did Head Kandy -- sorry, strike

   3    that.

   4                   Did Miss McNeill every resolve the

   5    issues identified in this letter --

   6              A.   I'm sorry, I can't hear you.

   7              Q.   Oh, sorry.

   8                   Did Miss McNeill resolve the

   9    issues that are identified in this letter

  10    concerning the breaches of her employment

  11    agreement to Head Kandy's satisfaction?

  12              A.   What do you mean "resolve the

  13    issue"?

  14              Q.   From Head Kandy's perspective, was

  15    Miss McNeill always in material breach of her

  16    employment agreement following this letter?

  17              A.   I don't think she ever ceased and

  18    desist the White Pineapple business.

  19              Q.   Okay.     So Head Kandy always --

  20    sorry.    Strike that.

  21                   Head Kandy believed her to be in

  22    material breach of her employment agreement due

  23    to these actions at all times after this letter

  24    was sent?

  25              A.   Yes.    And we continued to give her


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   1    chance after chance.       As you can see, we even

   2    put it in writing there, we're giving you

   3    another opportunity.       And this has been -- you

   4    know, I gave -- I gave her -- even beyond that,

   5    we gave her even more opportunities.         I'm sure

   6    we'll get to some of those after lunch

   7    probably.

   8             Q.    Right.    And we'll break shortly

   9    for lunch.    I was just trying to make it

  10    through this document.

  11                   MR. LOEB:     You're getting close to

  12             the end?

  13                   MR. CONVERSE:     Yeah, no.

  14    BY MR. CONVERSE:

  15             Q.    The first paragraph on page --

  16    well, it says page 3 of 4 at the top, but the

  17    first page is the exhibit page, so it's really

  18    page 4 in this deposition exhibit.

  19                   The last sentence of that first

  20    paragraph says that Head Kandy would be within

  21    its right to cancel Kayla's ownership units and

  22    void any financial obligations owed to her.

  23             A.    Uh-huh.

  24             Q.    What financial obligations did

  25    Head Kandy have to her at this time?


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   1    do with the company during her suspension?

   2             A.    I don't know.

   3             Q.    Okay.   What was the basis of her

   4    suspension?

   5             A.    Again, I have to go through the

   6    document again.

   7             Q.    Sure.

   8             A.    It's all here.     I think it's all

   9    written out for us here in the documents.

  10                   Again, the basis of the suspension

  11    was, when we started seeing what was going on,

  12    using the company funds for personal expenses

  13    rather than just not business expenses.         Not

  14    only -- and not only business expenses, hiring

  15    employees or having employees work for you that

  16    the company paid for, the company payroll.

  17    That were for personal use.

  18                   Abusing the company in other ways

  19    as well that we saw.     You know, we were renting

  20    a forklift for $2,000 a month, which is, again,

  21    it's astronomical.     An old used forklift for

  22    years.   You can buy a forklift for a lot less

  23    than what it cost for renting for a year.

  24                   We paid for a barn that never did

  25    anything we were told it was going to be used


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                                                                              144
   1    for.

   2                   Refurbishment of product.       Nothing

   3    was ever shipped there, nothing was received

   4    there, nothing was refurbished there.        We paid

   5    $3,000 a month for that.

   6                   Like I said, where there's a

   7    little bit, you find a lot.       And that's just a

   8    few of the things that we saw.

   9             Q.    Other than the issue with the

  10    expenses that's addressed in the K2 report,

  11    were those other reasons known to you at the

  12    time that this letter was sent?

  13             A.    Which other reasons?

  14             Q.    You had mentioned a forklift.       And

  15    you had mentioned employment of certain

  16    individuals.

  17             A.    Uh-huh.

  18             Q.    So everything, excluding the

  19    personal expenses, was that known to you at the

  20    time this letter was sent?

  21             A.    At this time?

  22             Q.    Yes.

  23             A.    Yes.

  24             Q.    Okay.     Is there any reason why

  25    they weren't included in this letter?


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   1    picture of me and my wife online, and I don't

   2    remember what was said.       Again, I -- I don't

   3    recall.

   4              Q.   Do you recall any other posts that

   5    she made concerning your wife?

   6              A.   I -- I really don't remember.          At

   7    one point, I -- I was just getting fed up

   8    with -- with just speaking bad about me and my

   9    family and for no reason.

  10              Q.   You mentioned a couple of times

  11    that you think Head Kandy would be a successful

  12    business today if Miss McNeill hadn't made

  13    certain posts about the company and the owners.

  14                   Why do you believe that?

  15                   MR. LOEB:    Object to form.

  16                   Go ahead.

  17                   THE WITNESS:     Because, again, like

  18              I said, the whole reason why I got into

  19              the business, I was -- I was -- when I

  20              met Kayla I felt she was very creative.

  21              She was really good on, you know,

  22              selling product, and she had a great

  23              following.   We could have built up more

  24              followers, if -- and again, that's why

  25              I made the change when I made it.       I


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   1    one word.

   2    BY MR. CONVERSE:

   3              Q.   What company employs Hernan?

   4              A.   Falic's Fashion Group.

   5              Q.   Were there any other employees of

   6    other companies that provided services for Head

   7    Kandy?

   8              A.   I'm not sure if I had anyone else

   9    doing -- getting -- getting paid.        I can't

  10    recall.

  11              Q.   I believe you said Mr. Thompson is

  12    currently employed by Head Kandy.

  13                   What are his current duties and

  14    responsibilities for Head Kandy?

  15              A.   I haven't spoken to -- even when

  16    he was -- during -- during the time that --

  17    going back for 2022, 2021, I never worked

  18    hand-in-hand with Ryan Thompson.        He is still

  19    employed by the company.      And again, I don't

  20    speak to them on a day-to-day basis.

  21                   John is really working on the

  22    company as well as Alphagility, and they speak

  23    with them.

  24              Q.   So you don't know what

  25    Mr. Thompson currently does for the company?


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   1    some reason, so can you go in the chat and open

   2    the document that was just uploaded?

   3                    MR. LOEB:      Will that be Exhibit 9,

   4               "Resolution"?

   5                    MR. CONVERSE:      Yes.

   6                    (Thereupon, the above-mentioned

   7               document was marked as Defendant's

   8               Exhibit No. 9, for identification.)

   9    BY MR. CONVERSE:

  10               Q.   This document is a couple of pages

  11    as well.

  12                    Please review it and then I'll ask

  13    you some questions.

  14               A.   Okay.

  15               Q.   Do you recall these resolutions?

  16               A.   Somewhat.      I had a lot of letters

  17    being sent, so somewhat.

  18               Q.   In the second paragraph of this

  19    document, in the second resolution, it states

  20    that "Miss McNeill damaged the company in an

  21    amount in excess of a million dollars."

  22                    Do you see those two statements?

  23               A.   Yes.    Yes.

  24               Q.   And at the end of the document it

  25    says you've executed this as the managing


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   1    member of Head Kandy.

   2                    Do you see that?

   3               A.   Yes.

   4               Q.   Do you still believe that

   5    Miss McNeill has damaged Head Kandy in excess

   6    of a million dollars?

   7               A.   I think she damaged -- damage to

   8    the company, I think, was way beyond a million

   9    dollars.

  10               Q.   Did you unilaterally pass these

  11    resolutions?

  12               A.   What do you mean "unilaterally"?

  13               Q.   Was there any vote of the other

  14    members of the company?

  15               A.   Not that I recall.

  16               Q.   Was there a meeting held of the

  17    other members to discuss these resolutions?

  18               A.   The way I work with my brothers --

  19    since I was overseeing this company, doesn't

  20    mean with other companies -- we had 60 percent

  21    between the three of us, so I speak for the

  22    three of us as it is, so there was no -- there

  23    was no meeting.

  24               Q.   What happened to Miss McNeill's

  25    shares after this resolution was passed?


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   1             A.    They get, how do you call it?

   2    Dissolved.

   3             Q.    So they were taken back by Head

   4    Kandy and then dissolved?

   5             A.    Yes.

   6             Q.    So all of the -- strike that.

   7                   Are all of the approved membership

   8    interests distributed and held by the other

   9    four original members of Head Kandy?

  10             A.    Yes.

  11             Q.    Are you aware of a report by an

  12    expert retained by Miss McNeill concerning the

  13    expenses on the K2 report?

  14             A.    No.

  15             Q.    You had mentioned a forklift

  16    previously.

  17                   Was there an agreement between

  18    Miss McNeill and Head Kandy concerning Head

  19    Kandy's use of that forklift?

  20             A.    I don't believe there was a

  21    written agreement.     From my knowledge, she had

  22    brought it up to Bryan Feldman's attention

  23    asking him if it's okay.

  24                   Again, with an agreement or not an

  25    agreement, it's definitely -- and obvious


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   1    today, it's taking advantage of the company and

   2    the partnership when we had total trust in her.

   3                       And, you know, it's just total

   4    taking advantage of everybody.

   5               Q.      Is that due to the value of the

   6    forklift?

   7               A.      The charge per month for the

   8    forklift -- again, I didn't -- I guess I didn't

   9    realize it was going to go on forever, but it

  10    went on.        They had the forklift anyway.     You

  11    know, if it was going to be -- there should

  12    have been something agreed upon.          They could

  13    have said, look, we paid whatever it might be,

  14    $12,000 for the forklift, and we want to get

  15    back our money for it, we'll put it into the

  16    company.        Something like that.

  17                       Just like going back to the barn.

  18    The barn was told we have to build this barn,

  19    we're going to use it for a warehouse, we'll

  20    use some refurbished product.          We paid $3,000

  21    for an empty barn we never used once.

  22                       You know, unfortunately we didn't

  23    come out to Salida, Colorado to take a look at

  24    the barn and see how much product was in there.

  25    But I know if we would have gone there, it


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   1    leased it to Head Kandy?

   2               A.   Yes.

   3               Q.   Do you know why they purchased a

   4    forklift?

   5               A.   They -- I understood it was a

   6    forklift from their -- from before we

   7    purchased -- before we went partners on the

   8    business.

   9               Q.   So you think that forklift was

  10    transported from Colorado to North Carolina?

  11               A.   I believe so.

  12               Q.   Do you know if Head Kandy ever

  13    leased a forklift for its warehouse?

  14               A.   Prior?

  15               Q.   At any time.

  16               A.   I don't -- that was the forklift

  17    we used.

  18               Q.   So the same forklift was always

  19    used --

  20               A.   I believe it was only one

  21    forklift, from my memory.

  22               Q.   You stated the barn was never used

  23    once.

  24                    How do you know that the barn was

  25    never used once?


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   1             A.    I know I heard about it.      John,

   2    when he was doing -- looking and digging in

   3    deep, I don't know who he spoke to, who

   4    mentioned it to him, but he had told me, we

   5    were paying for a barn that was never used.

   6                   I was always questioning and

   7    asking what is the barn used for.        I did ask,

   8    and they said, oh, we send in the refurbished

   9    product -- the hair tools get refurbished over

  10    there.   From what John found out, it was never

  11    used.

  12             Q.    Who told you that the tools were

  13    being refurbished in the barn?

  14             A.    I understood that from -- I don't

  15    know if it was -- if it was brought up by

  16    Dusty, by Kayla or Bryan mentioned it to me.

  17    It was one of the three.

  18             Q.    Do you know if Bryan -- excuse me.

  19                   Do you know if John ever visited

  20    the barn in Colorado?

  21             A.    Not to my knowledge.

  22             Q.    Do you know if Bryan ever visited

  23    the barn in Colorado?

  24                   THE COURT REPORTER:      Did you just

  25             ask the same question twice?


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   1    BY MR. CONVERSE:

   2             Q.     Okay.   Back from the break.

   3                    Do you know approximately how many

   4    times Head Kandy moved its warehouse?

   5             A.     So, yes, we moved from Salida to a

   6    warehouse in North Carolina.       And then we moved

   7    one more time to another warehouse in North

   8    Carolina.

   9             Q.     Were inventories conducted when

  10    the warehouse was moved?

  11             A.     I believe so.

  12             Q.     With regard to the Hollywood

  13    office that we have discussed a number of

  14    times, how many of your businesses are run out

  15    of there?

  16             A.     In Hollywood?

  17             Q.     Yes.

  18             A.     We have several.

  19             Q.     Okay.   Is it more ten?

  20             A.     I don't believe so.

  21             Q.     Okay.   Because we had talked about

  22    two others, Falic Fashion, the one that Raissa

  23    works at.     I don't recall how to pronounce it.

  24    Yasha Zim (phonetic)?

  25             A.     Yasha Zim.


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